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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

IN RE:                                                      CASE NO.: 18-14679-JKO

STAMIKE GLARENTZOS,                                         Chapter 11

Debtor
                           /

                         DEBTOR’S PLAN OF REORGANIZATION

         Stamike Glarentzos submits to her creditors her Plan of Reorganization (the "Plan"),

consistent with the Court approved Disclosure Statement (the "Disclosure Statement"), pursuant

to Chapter 11 of title 11, United States Code.

                                          ARTICLE 1
                                         DEFINITIONS

         Except as otherwise indicated, the terms used in the Code and applicable Bankruptcy

Rule will have the meanings provided for therein. In addition, the following terms will have the

following meaning:

         "Administrative Claimant" will mean any person entitled to payment of an administrative

expense.

         "Administrative Expense" will mean any cost or expense of administration of the Chapter

11 cases entitled to priority under §507(a)(2) and allowed under §503(b) of the Code, including

without limitation, any actual and necessary expenses of preserving the Debtor's Estate, and

actual and necessary expenses of operating the properties of the Debtor to the extent allowed by

the Bankruptcy Court under the Bankruptcy Code and any fees or charges assessed against any

of the Debtor's Estate under Chapter 11, Title 28, United States Code.

         "Allowed Claim" will mean a claim as defined in Section 101(5) of the Code with respect
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to which a Proof of Claim has been filed with the Court within the applicable period of limitation

fixed by Bankruptcy Rule 3003, or scheduled in the list of creditors prepared and filed with the

Court, pursuant to Bankruptcy Rule 1007(b), and not listed as disputed, contingent or

unliquidated as to amount and in either case, as to which no objection to the allowance thereof

has been filed within any applicable period of limitation.

        "Allowed Priority Claim" will mean an Allowed Claim entitled to priority under §507(a)

of the Code.

        "Allowed Priority Tax Claim" will mean an Allowed Priority Claim entitled to priority

under §507(a)(8).

        "Allowed Priority Wage Claim" will mean an Allowed Priority Claim entitled to priority

under §507(a)(4).

        "Allowed Secured Claim" will mean an Allowed Claim which is secured by a lien on

property of the Estate of the Debtor or on the proceeds thereof, and which is valid, perfected and

enforceable under applicable law and is not subject to avoidance under the Code or applicable

non-bankruptcy law.

        "Allowed Unsecured Claim" will mean an Allowed Claim against the Debtor which

is not an Administrative Expense, Allowed Priority Claim, Allowed Secured Claim or the

claim of an equity security interest holder.

        "Bankruptcy Rules" will mean the rules of bankruptcy procedure governing cases under

Title 11 of the United States Code as from time to time amended.

        "Case" will mean these Chapter 11 Proceedings commenced by the Debtor on the Petition
Date.

        "Code" will mean the Bankruptcy Reform Act of 1978, 11 U.S.C. §101, et. seq., as

amended.

        "Confirmation or Confirmation Date" The date of the entry of an Order by the
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Bankruptcy Court confirming this Plan; provided such Order becomes final.

         "Court" will mean the United States Bankruptcy Court for the Southern District of

Florida, having jurisdiction over the Case.

         "Debtor's Estate" will mean all property of the Estate as defined by 11 U.S.C. §541.

         "Effective Date" will mean a Date which is thirty (30) days from the Confirmation Date.

         "Escrow Agent" will mean Kiem Law, P L L C

         "Escrow Fund" will mean the attorney trust bank account maintained by the Escrow

Agent.

         "Final Order" will mean an Order of the Bankruptcy Court as to which: a) any appeal has

been taken has been finally determined or dismissed; b) the time for appeal has expired and no

Notice of Appeal has been filed; or c) if an appeal, re-argument, certiorari, or rehearing thereof

has been sought, such Order has not been stayed.

         "Petition Date" will mean April 20, 2018.

         "Rejection Claim" will mean a claim arising under §502(g) of the Code from the rejection

of an executory contract or unexpired lease of the Debtor.

         "Reorganized Debtor" will mean “Stamike Glarentzos” after the Confirmation of the

Plan proposed herein.

                                      ARTICLE 2
                               ADMINISTRATIVE EXPENSES

         Administrative Expenses of the type specified in 11 U.S.C. §503, §506(c) and

§507(a)(2) which are authorized and allowed by the Court will be paid in full at Confirmation

or as otherwise agreed upon between the parties. Kiem Law PLLC was paid a fee retainer of

$10,500.00 and cost retainer of $1,717 for a total retainer of $12,217, of which on the Petition Date

$8,042 of the fee retainer and $0 of the cost retainer for a total retainer of $8,042 remains.

All fees for professional compensation payable from Debtor's funds are subject to Court
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approval.

       All fees required to be paid by 28 U.S.C. §1930(a)(6) (U.S. Trustee Fees) will accrue

and be timely paid until the case is closed, dismissed, or converted to another chapter of the

Code. Specifically, the Debtor will pay the U.S. Trustee the appropriate sum required

pursuant to 28 U.S.C. § 1930(a)(6), through the date of confirmation of the Plan, within

fourteen (14) business days of the entry of an order confirming the Plan. Furthermore, the

Debtor (as reorganized) will file with the Court post-confirmation Quarterly Operating

Reports and pay the U.S. Trustee the appropriate sum required pursuant to 28 U.S.C. §

1930(a)(6) for post-confirmation periods within the time period set forth in 28 U.S.C. §

1930(a)(6), based upon all post-confirmation disbursements, until the earlier of the closing of

this case by the issuance of a Final Decree by the Bankruptcy Court, or upon the entry of an

Order by the Bankruptcy Court dismissing this case or converting this case to another

Chapter under the U.S. Bankruptcy Code.

                                         ARTICLE 3
                                         PRIORITY
                                          CLAIMS

       Secured and Priority Tax Claims. Allowed Priority Tax Claims under Section

507(a)(8) of the Bankruptcy Code shall be paid, in accordance with Section 1129(a)(9)(C)

and (D) of the Bankruptcy Code, One Hundred Percent (100%) of the Allowed amount of the

Claim over a period ending not later than five (5) years after the Petition Date.


                                 ARTICLE 4
                  CLASSIFICATION AND TREATMENT OF CLAIMS

               CLASS 1 will consist of the Allowed Secured Claim of CIT BANK, N.A.,

FKA ONEWEST BANK, N.A., FKA ONEWEST BANK, FSB (“ CIT”) in the amount of
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$950,000.00 (Nine Hundred and Fifty Thousand Dollars and Zero Cents) which is secured by

the Debtor’s real estate located at 932 N. Northlake Drive, Hollywood FL (the “Northlake

Property”). The value of the Debtor’s North Lake Property is $950,000.00 pursuant to an

Order Granting Motion to Value and Determine Secured Status of Lien on Real Property (ECF

No. 33). CIT shall retain its liens to the extent of its Allowed Secured Amount.

              Accordingly, the monthly 5-year plan payments to CIT shall be calculated

based on the Allowed Secured Claim of $950,000.00 amortized over 30 years at a 3.5% fixed

rate of interest, which is $4,265.92 per month for principal and interest. Additionally, real

estate taxes (annual amount estimated at $11,266.00 which is $938.83 per month) that accrued

from the Petition Date to the Effective Date (estimated at approximately $5,632.98) will be

paid on the Effective Date and all real estate taxes accrual thereafter will be paid monthly at

the rate of $938.83 per month.

              Therefore, on the Effective Date, the Debtor will make the monthly payment of

$4,265.92 in principal and interest along with $938.83 per month towards the real estate tax

accruing since the Petition Date for a total monthly payment of $5,204.75 for 5 years. By the

end of the 5 years, Debtor will either refinance or sell the Northlake Property and payoff the

balance of the Allowed Secured Claim with CIT releasing all its liens at that time, without any

prepayment penalty.

              CIT’s unsecured, deficiency claim is $0.00. The deficiency claim is $0.00

based on the Consent Final Judgment of Mortgage Foreclosure dated 8/21/2014 and recorded

at OR BK 51035 PG 1091 in the Official Records of Broward County Florida, which provides

that CIT will not seek a deficiency against the Debtor. Furthermore, CIT has not filed a claim

in the case and does not have an Allowed Unsecured Claim. See the Order Granting Motion
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to Value and Determine Secured Status of Lien on Real Property (ECF No. 33).

      CLASS 2 will consist of the Allowed Secured Claim of Home Federal Bank of

Hollywood (“Home Federal”) which is secured by a first mortgage lien on real property

located at 18-22 SW 11th Street Dania Beach FL, which is currently the Debtor’s homestead.

This claim will be kept current. The Plan will not impair the lien of Home Federal and Home

Federal will retain all of its rights under state law. There is no discharge or release of Ms.

Glarentzos personal liability for the claim of Home Federal. Debtor shall leave unaltered the

legal and contractual obligations owed to this claimant.

       CLASS 3 will consist of Allowed Unsecured Claims, Debtor shall distribute the sum of

$5,000.00 pro-rata and without interest to all allowed Class 3 claimants in one lump sum on the

Effective Date.

        CLASS 4 will consist of the individual Debtor who will not receive any distribution

under the plan.

                                        ARTICLE 5
                                MEANS OF IMPLEMENTATION

       5.1    Short Term Implementation. Prior to Confirmation the Debtor will establish an

Escrow Fund to be maintained by the Escrow Agent, Kiem Law, PLLC. Debtor will deposit

sufficient funds into the Escrow Fund to pay Administrative Expenses and make the first

payment to all classes as set forth herein. The Escrow Agent will be discharged after making

the distribution required by the Plan, without further Order of the Court.

       5.2        Long Term Implementation. Distributions will be made from the Debtor’s

earnings from rental income and from support the Debtor receives from her daughter Lily

Glarentzos, which includes income generated from the lease agreement between the Debtor
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and Illios LLC, which is a Florida Company controlled by the Debtor’s daughter Lily

Glarentzos. The Debtor’s daughter has experience in managing rental properties and is well

suited to manage the Northlake Property.



                                    ARTICLE 6
                            ACCEPTANCE OR REJECTION OF
                                      PLAN

       6.1     Impaired Classes to Vote. Each impaired class of creditors with claims against

the Debtor's Estate will be entitled to vote separately to accept or reject the Plan. All Classes

except for Class 2 are impaired and entitled to vote.

       6.2     Acceptance by Class of Creditors. A Class of creditor will be deemed to

have accepted the Plan if the Plan is accepted by at least two-thirds (2/3) in amount and

more than one-half (½) in number of the Allowed Claims of such Class.

       6.3     Cramdown. In the event that the impaired Class of creditors with claims

against any of the Debtor's Estate will fail to accept the Plan in accordance with §1129(a) of

the Bankruptcy Code, the Debtor will request the Bankruptcy Court to confirm the Plan in

accordance with §1129(b) of the Bankruptcy Code.

                                       ARTICLE 7
                                  EXECUTORY CONTRACTS

       Any executory contract or unexpired lease not specifically assumed is deemed

rejected upon confirmation of this Plan. The Debtor assumes all lease agreements where the

Debtor is the lessor and or landlord.

                           ARTICLE 8
     PROCEDURES FOR RESOLVING DISPUTED CLAIMS AND REJECTION
                            CLAIMS

       8.1     Provisions for Treatment of Disputed Claims. Notwithstanding any other
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provision of the Plan, no cash or other property shall be distributed under the Plan on

account of any Disputed Claim, whether or not such Claim is disputed in part, only. The

Debtor shall file and serve objections to Claims when and as required by Rule 3007-1(B) of

Local Rules for the United States Bankruptcy Court for the Southern District of Florida or

as provided for in any order from the Bankruptcy Court.             To expedite distributions

pursuant to the Plan and avoid undue delay in the administration of the Chapter 11 Case, on

request of the Debtor, the Bankruptcy Court may estimate, pursuant to Section 502(c) of

the Bankruptcy Code, the amount of any Disputed Claim for which funds are to be set

aside.

         8.2    Provision for Rejection Claims. In the event the rejection of a contract gives

rise to a Rejection Claim not otherwise provided for herein, the holder of such claim must file

such claim within thirty (30) days following the rejection of said contract or the Confirmation

Hearing whichever occurs first. Such claim must, in addition to its filing with the Bankruptcy

Court, be served upon the undersigned attorneys for the Debtor.

                               ARTICLE 9
                  PROVISIONS FOR FUTURE MANAGEMENT
         ARTICLES OF INCORPORATION AND BY-LAWS OF THE DEBTOR

         9.1 Officers and Directors. Debtor is an individual.

         9.2 Articles of Incorporation and By-Laws. Debtor is an individual.

                               ARTICLE 10
          RETENTION OF JURISDICTION AND RESERVATION OF RIGHTS

         The assets of the Debtor will remain subject to the jurisdiction of the Bankruptcy

Court until the Effective Date. From and after Effective Date, the Bankruptcy Court will

retain and have exclusive jurisdiction over the Reorganized Debtor for the purpose of

determining disputes arising under this Plan, including, but not limited to, (a) to determine
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all disputes relating to claims and the allowance and amount thereof; (b) to consider and

allow any and all applications for compensation for professional services rendered and

disbursements incurred in connection therewith, during the pendency of the Chapter 11; (c)

to determine any and all pending applications, motions, adversary proceedings, and

contested or litigated matters pending on the Effective Date and arising in or related to this

Plan; (d) to modify this Plan as provided or to remedy any defect or omission or reconcile

any inconsistency in the Confirmation Order; (e) to enforce the provisions of this Plan

relating to the distributions to be made; and (f) to issue such Orders as may be necessary to

effectuate the consummation and full and complete implementation of this Plan.

       Reservation of Rights Under Sections 1141(d)(5) and 350(a). The Debtor reserves

the right, after confirmation, to seek the closing of this bankruptcy proceeding prior to the

entry of an Order of Discharge, upon the payment of the initial payment under the Plan,

payment of all outstanding quarterly United States Trustees Fees, and the filing of any

outstanding federal income tax returns. Such a request may be granted only upon notice and

hearing, with notice to all creditors and interested parties. If such request is granted, then upon

the satisfaction of all payments required to be paid inside the Plan to Class 3 creditors, the

Debtor may file a motion to reopen this bankruptcy proceeding, pursuant to 11 U.S.C. §

350(b), and the Court may then grant the Debtor a discharge, pursuant to 11 U.S.C. §

1141(d)(5). This paragraph only preserves the Debtor’s right to seek the relief described above

and does not conclusively grant such relief. Notwithstanding the foregoing, the Debtor may

seek entry of her discharge without closing the case or waiting for the expiration of the 5

years. Creditors’ and interested parties’ rights to object to such relief shall similarly be

preserved until such time as it is requested by the Debtor after confirmation.
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                                      CHAPTER 11
                               MISCELLANEOUS PROVISIONS

       11.1     Discharge of Debtor. The rights afforded in the Plan and the treatment of all

creditors herein will be in exchange for and in complete satisfaction, discharge and release of

the claims of any nature whatsoever, including any interest accrued thereon from and after

the Petition Date, against the Debtor, including as the Debtor in Possession, or any of her

assets or property. Except as otherwise provided herein, all such claims against the Debtor,

including as the Debtor in Possession, will be satisfied, discharged and released in full in

accordance with §1141(d) (5)(A) of the Bankruptcy Code. All creditors will be precluded

from asserting against the Debtor or her respective assets or property any other or further

Claim based upon any acts or omission, transaction or other activity of any kind or nature

that occurred prior to the Effective Date.

       11.2     Title to Assets: Discharge of Liabilities. Except as otherwise provided by the

Plan on the Confirmation Date, title to all property dealt with by the Plan will vest in the

Debtor, as the case may be, in accordance with §1141 of the Bankruptcy Code, free and clear

of all claims and the Order confirming the Plan will be a judicial determination of discharge of

the Debtor's liabilities, except as provided in the Plan.

       11.3     Effect of Discharge on the Rights Between Third Parties. If the Plan is

confirmed, the provisions of the Plan will bind the Debtor and all creditors, whether or not

they accept the Plan.

       11.4     Filing of Additional Documents. On or before the Effective Date, the Debtor

will file with the Bankruptcy Court such any documents that will be necessary to effectuate

the Plan.
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         11.5     Unclaimed Distributions. If any distribution to a holder of an Allowed Claim

 pursuant to the Plan remains unclaimed for a period of ninety (90) days after such

 distribution has been delivered to the holder entitled thereto, the Allowed amount of the

 Claim upon which such distribution was made shall be canceled and not be entitled to any

 further distributions hereunder. A distribution of funds is unclaimed if, without limitation,

 the holder of a Claim entitled thereto does not cash a check or returns a check or if the check

 mailed to the holder at the address in the Schedules or Amended Schedules or set forth in any

 proof of claim filed by such holder is returned by the United States Postal Service or any

 other country’s postal service as undeliverable. Any such unclaimed distributions shall be

 forfeited by the holder and be re-deposited into the Reorganized Debtor’s accounts pursuant

 to Section 347(b) of the Bankruptcy Code.

         11.6     Section Headings. The section headings contained in the Plan are for

 reference purposes only and will not in any way affect the meaning or interpretation of the

 Plan.

                                                 s/Stamike Glarentzos
                                                              Debtor

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                                           By:      /s/ Tarek K. Kiem
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Dated: September 4, 2018
